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17                          UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18

19    CHASOM BROWN, et al., on behalf of               Case No. 4:20-cv-03664-YGR-SVK
      themselves and all others similarly situated,
20                                                     GOOGLE LLC’S OPPOSITION TO
             Plaintiffs,                               SALCIDO PLAINTIFFS’ MOTION FOR
21                                                     LEAVE TO FILE MOTION FOR
             v.                                        RECONSIDERATION
22
      GOOGLE LLC,                                      Judge: Hon. Yvonne Gonzalez Rogers
23                                                     Date: October 8, 2024
             Defendant.                                Time: 2:00 p.m.
24                                                     Location: Courtroom 1 – 4th Floor

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 1          Defendant Google LLC (“Google”) respectfully submits this Opposition to the Salcido

 2 Plaintiffs’ Motion for Leave to File a Motion for Reconsideration of the Court’s August 12, 2024

 3 Order (Dkt. 1133) (the “Motion”).

 4 I.       INTRODUCTION

 5          The Motion rests entirely on the patently false premise that the Ninth Circuit’s decision in

 6 Calhoun v. Google, Case No. 22-16993, Dkt. 123-1 (“Calhoun”) somehow undermines this Court’s

 7 rationale for denying the Brown Plaintiffs’ motion to certify a damages class pursuant to Rule

 8 23(b)(3). It does not. In Calhoun, the Ninth Circuit held that Google’s defense of express consent

 9 turns on how a “reasonable user” would understand the specific disclosures through which Google

10 claimed it obtained consent to the data collection at issue in that case. Case No. 22-16993, Dkt.

11 123-1 at 18. By contrast, in denying a Rule 23(b)(3) damages class in Brown, this Court did not

12 address express consent at all. Rather, the Court found that a damages class could not be certified

13 because Google’s defense of implied consent raised individualized issues that defeated

14 predominance. Dkt. 803 at 32. Unlike express consent, implied consent does not turn on the

15 objective “reasonable user” standard. Rather, it is “based on individual, and subjective, interactions

16 of what certain class members knew, read, saw, or encountered.” Dkt. 803 (Class Certification

17 Order) at 32; see also Hart v. TWC Prod. & Tech. LLC, No. 20-CV-03842, 2023 WL 3568078, at

18 *10 (N.D. Cal. Mar. 30, 2023). Because Calhoun does not address the standard for implied consent,

19 it provides no basis for revisiting this Court’s class certification decision in this case.

20          The Motion should also be denied because the Salcido Plaintiffs offer no basis to reconsider

21 any of the multiple, independent grounds on which the Court denied their Motion to Intervene and

22 to Continue the Final Approval Hearing (“Motion to Intervene”) (Dkt. 1116). Their Motion does

23 not even attempt to contravene this Court’s finding that: (1) the Salcido Plaintiffs’ Motion to

24 Intervene was untimely, (2) the Salcido Plaintiffs failed to identify any specific Class Member

25 interest that would be protected by their intervention, and (3) the Salcido Plaintiffs failed to provide

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 1 any evidence that, in entering the Settlement Agreement (Dkt. 1103-3), Class Counsel has acted

 2 contrary to Class Members’ interests.

 3 II.     BACKGROUND

 4         On December 12, 2022, the Court denied the Brown Plaintiffs’ motion to certify damages

 5 classes pursuant to Rule 23(b)(3) but certified two injunctive relief classes pursuant to Rule

 6 23(b)(2). Dkt. 803 at 27-34. The parties ultimately executed a settlement agreement on March 11,

 7 2024, and Plaintiffs filed a Motion for Final Approval of Class Action Settlement on April 1,

 8 2024. Dkt. 1096.

 9         One month before the approval hearing, the Salcido Plaintiffs filed a Motion to

10 Intervene. Dkt. 1116. Both Google and the Brown Plaintiffs opposed the motion. Dkts. 1118;

11 1119. On August 7, 2024, the Court heard oral argument on the Motion to Intervene (the “August

12 7 Hearing”). The Court subsequently issued an order denying the Salcido Plaintiffs’ Motion to

13 Intervene on August 12, 2024 (the “Order”). Dkt. 1130.

14         Three weeks later, the Salcido Plaintiffs filed this Motion, pursuant to Civil L.R. 7-9(b)(2),

15 claiming that the Ninth Circuit’s August 20, 2024 Calhoun decision constitutes a change of law

16 sufficient to justify reconsideration of the Court’s Order. The Motion advances no other ground

17 for reconsideration.

18 III.    LEGAL STANDARD

19         “[M]otion[s] for reconsideration … are disfavored and rarely granted.” Costa v. Postmates

20 Inc., 2020 WL 13526733, at *2 (N.D. Cal. June 26, 2020). Pursuant to Civil L.R. 7-9(b)(2), the

21 party seeking leave to file a motion for reconsideration bears the burden of establishing “the

22 emergence of new material facts or a change of law.” Civil L.R. 7-9(b)(2); see also Cutlip v.

23 Deutsche Bank Nat’l Tr. Co. for the Harborview Mortgage Loan Trust Pass-Through Certificates

24 2007-7, No. 15-cv-01345, 2015 WL 5964034, at *1 (N.D. Cal. Oct. 13, 2015). “Whether or not to

25 grant reconsideration is committed to the sound discretion of the court.” Navajo Nation v.

26 Confederated Tribes & Bands of the Yakama Indian Nation, 331 F.3d 1041, 1046 (9th Cir. 2003).
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 1 IV.      ARGUMENT

 2          A.      Leave Should Be Denied Because the Salcido Plaintiffs’ Assertion that Calhoun
                    Undermines this Court’s Class Certification Decision in Brown Is Incorrect
 3
            The Salcido Plaintiffs’ only argument is that Calhoun constitutes a “post-order change of
 4
     law” (Mot. at 3) that somehow undermines the Court’s decision to deny a Rule 23(b)(3) damages
 5
     class in this case. This argument is clearly wrong and serves only to further confirm that the Salcido
 6
     Plaintiffs’ counsel is unfamiliar with the key issues in this case.
 7
            Calhoun is not remotely relevant to the Court’s class certification decision in
 8
     Brown. Calhoun pertains to the issue of express consent. The Ninth Circuit held that the governing
 9
     standard with respect to express consent is what a “reasonable user of a service would understand
10
     they were consenting to” when reviewing Google’s account holder agreements and
11
     disclosures. Case No. 22-16993, Dkt. 123-1 at 18. The Ninth Circuit held that this was a material
12
     issue of disputed fact. Id. at 22.
13
            By contrast, the Court based its decision to deny a Rule 23(b)(3) damages class in this case
14
     on implied consent, which does not turn on the objective “reasonable user” standard but is instead a
15
     subjective standard that depends on what the individual class members “knew, read, saw, or
16
     encountered.” Dkt. 803 at 32; accord Hart, 2023 WL 3568078 at *10 (“[I]in determining whether
17
     Class members impliedly consented, [a fact-finder] would have to evaluate to which of the various
18
     sources each individual user had been exposed and whether each individual knew about and
19
     consented to the interception based on the sources….”) (quoting In re Google Inc. Gmail Litig., No.
20
     13-MD-02430, 2014 WL 1102660, at *16 (N.D. Cal. Mar. 18, 2014)); Backhaut v. Apple Inc., No.
21
     14-CV-02285, 2015 WL 4776427, at *14516- (N.D. Cal. Aug. 13, 2015), aff’d, 723 F. App’x 405
22
     (9th Cir. 2018) (noting that “the predominance problems posed by [the] implied consent defense are
23
     distinct from the express consent defense” because implied consent would be established by “a
24
     panoply of sources from which a proposed individual class member…could have been put on
25
     notice” of the alleged wrongdoing); In re Google, 2014 WL 1102660 at *16 (N.D. Cal. Mar. 18,
26
     2014) (“[C]ourts have consistently held that implied consent is a question of fact that requires
27

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                                                 -3-               Case No. 4:20-cv-03664-YGR-SVK
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 1 looking at all of the circumstances surrounding the interceptions to determine whether an individual

 2 knew that her communications were being intercepted.”).

 3          The Court found that the evidence shows variation between what “users knew or did not

 4 know” and that a factfinder “would have to determine the sources of information to which each class

 5 member was exposed” to determine whether they impliedly consented to the alleged conduct. Dkt.

 6 803 at 32. On that basis, the Court correctly held that individual issues of implied consent are likely

 7 to predominate over any common issue. Dkt. 803 at 32.; accord In re Google, 2014 WL 1102660,

 8 at *17 (“Individual issues regarding [implied] consent are likely to overwhelmingly predominate”

 9 where, as here, “there is a panoply of sources from which [] users could have learned of Google’s

10 interceptions” including “Google disclosures, third -party disclosures, and news articles.”);

11 Campbell v. Facebook Inc., 315 F.R.D. 250, 266 (N.D. Cal. 2016) (“individual issues of implied

12 consent do predominate…due to the media reports on the practice” because “as long as users heard

13 about it from somewhere and continued to use the relevant features, that can be enough to establish

14 implied consent”); Backhaut, 2015 WL 4776427 at *14 (implied consent defeats predominance

15 where “numerous sources of information…could have put some proposed class members…on

16 notice of the [] interceptions.”).

17          Because express and implied consent turn on different standards, and Calhoun addresses

18 only the former, the decision is irrelevant to the implied consent defense on which the Court based

19 its class certification decision here.1

20          B.       Leave Should Be Denied Because the Salcido Plaintiffs Fail to Explain How
                     Calhoun Provides a Basis for Reconsidering the Multiple Independent Bases on
21                   Which the Court Denied Their Motion for Intervention
22          The Court denied the Motion to Intervene on three independent grounds: (1) the motion was
23 untimely, (2) the Salcido Plaintiffs failed to articulate a specific interest they sought to preserve or

24

25
     1
      The Salcido Plaintiffs’ assertion that “[t]he Calhoun decision clarifies that Google must establish
26 consent based on the lay meaning of the language in its disclosures, not on any extraneous
   information available to expert users” (Mot. at 2) misses the mark. Under Calhoun, that standard
27 applies only to the defense of express consent. Implied consent need not be based on disclosures at

28 all, but may instead be based on what an individual knows, sees, reads, encounters based on the
   sources of information to which she is exposed. See Dkt. 803 at 32; Hart, 2023 WL 3568078 at *10.
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 1 defend by intervening, and (3) the Court found no indication that class counsel have acted in any

 2 manner incompatible with movants’ interests. Dkt. 1130 at 2-3; see also Citizens for Balanced Use

 3 v. Montana Wilderness Ass’n., 647 F.3d 893, 897 (9th Cir. 2011) (outlining the requirements for

 4 intervention under Federal Rule of Civil Procedure 24). The Salcido Plaintiffs incorrectly claim

 5 that Calhoun “casts doubt” on the Court’s reasons for denying the Motion to Intervene. Mot. at

 6 5. Even if Calhoun had some relevance to Google’s implied consent defense in this case, the

 7 decision provides no basis for reconsidering any of the grounds on which the Court denied

 8 intervention.

 9          1.       Calhoun Does Not Change the Fact that the Salcido Plaintiffs’ Motion to Intervene
                     was Untimely
10
            The Court denied the Motion to Intervene as untimely because it “was filed on the eve of the
11
     hearing for final approval of the class settlement, [] well over a year since the Court denied
12
     certification of a damages class in this case[,]” and three months after Class Members’ voluntary
13
     relinquishment of their rights to appeal through the proposed settlement. Dkt. 1130 at 2.
14
            The Salcido Plaintiffs’ contention that Calhoun “resets the clock” for intervention (Mot. at 7)
15
     is incorrect. None of the cases cited in the Motion support that proposition.2 Calhoun does not
16
     provide any excuse for the Salcido Plaintiffs’ 18-month delay in seeking to intervene for purposes
17
     of appealing the Court’s class certification decision.
18
            Moreover, the Salcido Plaintiffs were on notice that the Court’s summary judgment decision
19
     in Calhoun was on appeal as of December 20, 2022, when the plaintiffs in that case filed a notice of
20
     appeal. See Dkt. 941. If they genuinely believed that the issue on appeal in Calhoun was relevant
21
     to the Court’s class certification decision in Brown, they could have raised that concern at any
22
     time—including in their most recent Motion to Intervene. But they did not seek to intervene until
23

24
     Thus, the assertion that, in light of Calhoun, “a damages class is clearly viable against Google” is
25   incorrect.
     2
        The Salcido Plaintiffs cite two cases (Mot. at 7), each of which stands for the unremarkable
26   proposition that a would-be intervenor’s delay is measured from the time his interests are no longer
     adequately protected by the parties. See Officers for Just. v. Civ. Serv. Comm'n of City & Cnty. of
27   San Francisco, 934 F.2d 1092, 1095–96 (9th Cir. 1991); Crawford v. Equifax Payment Servs., Inc.,
28   201 F.3d 877, 880–81 (7th Cir. 2000). Neither case supports the argument that an appellate decision
     which allegedly improves the prospects of a favorable appeal is grounds for excusing a long delay.
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 1 18 months after the Court’s class certification decision, on the eve of the final approval hearing—

 2 and even then they did not raise the prospect that the pending Calhoun decision might provide a

 3 basis for them to appeal the class certification decision in Brown.3

 4           2.       Calhoun Does Not Change the Fact that the Salcido Plaintiffs Failed to Articulate
                      Any Specific Class Member Interest to Protect by Intervention
 5
             In denying intervention, the Court correctly noted that the proposed settlement in this case
 6
      relates to injunctive relief only and the Salcido Plaintiffs can—and indeed have—asserted their
 7
      damages claims individually. Dkt. 1130 at 2. During the August 7 hearing, the Salcido Plaintiffs’
 8
      counsel was unable to identify a single interest that Salcido Plaintiffs seek to preserve or defend
 9
      through intervention, nor could he explain any basis upon which he would seek an appeal of the
10
      Court’s class certification decision:
11
                     THE COURT: Okay. So how is the interest of the class -- individual
12                   class members -- impacted if they're bringing their own individual
13                   claims for damages?
                     MR. WALKER: Because there's – there’s otherwise two methods to do
14                   that. One is to appeal the denial. And the other one is to seek damages
                     on an individual basis. And the settlement basically wipes out one of
15                   those methods…
                     THE COURT: So you're left with one avenue but not two.
16                   THE COURT: And why do you think you even have grounds to appeal?
17                   MR. WALKER: Well --

18                   THE COURT: As you stand there, you've done a lot of analysis. So you
                     tell me, what would your appeal look like?
19                   MR. WALKER: I can't tell you as I sit here today. THE COURT: Well,
                     have you not done any analysis?
20                   MR. WALKER: Some, yes.
                     THE COURT: Okay. Well, what's your analysis?
21
                     MR. WALKER: Well, I think that the damages claims – well, I can't
22                   really say, Your Honor.

23
      3
24    The Salcido Plaintiffs cite Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (Mot. at 7) for
   the proposition that the timeliness requirement is “not a tool of retribution to punish the tardy would-
25 be intervenor,” but they conveniently leave out a key part of quote. “The requirement of timeliness
   is…rather a guard against prejudicing the original parties by the failure to apply sooner.” Sierra
26 Club, 18 F.3d 1202 at 1205. Indeed, as Google demonstrated in its opposition to the Motion to
   Intervene, the parties would be greatly prejudiced by the Salcido Plaintiffs’ undue delay here. See
27
   Dkt. 1118 at 5.
28
                                                    -6-               Case No. 4:20-cv-03664-YGR-SVK
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 1          August 7, 2024 Hearing Tr. 12:5-16, 14:8-18.

 2          Having had no idea what they would argue on appeal at the hearing on their Motion to

 3 Intervene, the Salcido Plaintiffs apparently had a epiphany when the Ninth Circuit issued

 4 Calhoun. But even if they were correct that Calhoun somehow undermines the Court’s decision

 5 denying a Rule 23(b)(3) class in this case—and they are not for the reasons explained above—the

 6 Salcido Plaintiffs cannot intervene for purposes of appealing that decision because it would be

 7 futile. As their counsel conceded during oral argument, the Ninth Circuit would not have

 8 jurisdiction to rule on such an appeal because the Brown Plaintiffs’ claims are being voluntarily

 9 dismissed. August 7, 2024 Hearing Tr. 12:23-24 (MR. WALKER: “[I]f there's a voluntary dismissal,

10 there will be no jurisdiction to appeal. That’s my understanding.”); see also Microsoft Corp. v.

11 Baker, 582 U.S. 23, 27 (2017) (voluntary dismissal of claims does not constitute a final judgment

12 and thus a court of appeal would not have jurisdiction to hear an appeal of class certification denial

13 after voluntary dismissal by named plaintiffs); Bobbitt v. Milberg LLP, 723 F. App'x 413, 414–15

14 (9th Cir. 2018) (holding that the Ninth Circuit has no “jurisdiction over an appeal from a denial of

15 class certification where the named plaintiffs have stipulated to the dismissal with prejudice of their

16 individual claims”); Martinez v. Flowers Foods, Inc, 720 F. App'x 415, 416 (9th Cir. 2018) (same).

17          The Ninth Circuit’s issuance of Calhoun does not affect the jurisdictional analysis. Thus,

18 the Ninth Circuit still would not have jurisdiction over an appeal by the Salcido Plaintiffs unless

19 they were prepared (and the Court were inclined to permit them) to step into the shoes of the Brown

20 Plaintiffs and try their case to verdict. That would upend the entire settlement, for the reasons

21 Google explained on the record at the August 7 Hearing.4

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   4
      At the August 7, 2024 hearing, Google’s counsel explained, and the Court agreed, that “a material
26 term of [the] settlement … is that we’re buying peace and this case goes away. We … never
   intended to settle the injunctive portion, pay plaintiffs whatever fees your Honor decides to award
27
   them, and then continue on with this case and maybe have an appeal.” August 7, 2024 Hearing Tr.
28 9:17-10:3.
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 1           3.       Calhoun Does Not Change the Fact that the Salcido Plaintiffs Provide No Evidence
                      That Class Counsel has Acted Contrary to Class Members’ Interests
 2
             As the Court recognized, and the Salcido Plaintiffs agreed, “[t]his case has been heavily
 3
      litigated for over four years” by competent counsel and there is no basis for concluding that Class
 4
      Counsel inadequately represented their rights. Dkt. 1130 at 3; August 7, 2024 Hearing Tr. 11:14-
 5
      24. Accordingly, the Court correctly found that, in entering the settlement, there was “no indication
 6
      that class counsel have acted in any manner incompatible with movants’ interests.” Dkt. 1130 at 2.
 7
             Moreover, Class Counsel obviously was aware of the Calhoun Plaintiffs’ appeal and the
 8
      issues it raised. Had they believed that those issues were relevant to the Court’s determination that
 9
      implied consent precluded certification of a damages class, they would have taken steps to preserve
10
      the rights of the Class and Brown Plaintiffs. They did not, because Calhoun concerns a different
11
      issue—express consent—that is irrelevant to the Court’s class certification decision.
12
                                               CONCLUSION
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             The Motion should be denied.
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                  GOOGLE’S OPPOSITION TO SALCIDO PLAINTIFFS’ MOTION FOR LEAVE TO FILE MOTION FOR
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